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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                    Case No. 2:24-cv-14037-AMC
   ALEKSEY TOVARIAN,

          Plaintiff,

   v.

   RUBIC, LLC

          Defendant.
                                          /
         [PROPOSED] ORDER GRANTING DEFENDANT RUBIC, LLC’S MOTION
           TO STAY DISCOVERY PENDING RULING ON MOTION TO DISMISS

          THIS MATTER is before the Court on Defendant Rubic, LLC’s Motion to Stay Discovery

   Pending Ruling on Motion to Dismiss (the “Motion to Stay”) [ECF No. 37]. In the Motion to Stay,

   Rubic asks the Court to briefly stay discovery and the requirement to hold a Rule 26(f) conference

   until the Court rules on the pending objections to the Magistrate Judge’s Report and

   Recommendation on Rubic’s motion to dismiss the operative complaint. Being fully advised in the

   premises, it is hereby ORDERED AND ADJUDGED that:

          1.      The Motion to Stay is GRANTED.

          2.      To the extent the Court adopts the Magistrate Judge’s Report and Recommendation

   on Rubic’s motion to dismiss the Second Amended Complaint, the parties must hold their Rule

   26(f) conference no later than fourteen days from the entry of such an order.

          DONE AND ORDERED in Chambers in the Southern District of Florida this               day of

                                  2025.



                                                        HONORABLE AILEEN M. CANNON
                                                        United States District Judge
